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 1   Anna T. Neill (SBN 270858)
     KENNY NACHWALTER, P.A.
 2   Four Seasons Tower, Suite 1100
 3   1441 Brickell Avenue
     Miami, Florida 33131
 4   Telephone: (305) 373-1000
     Facsimile: (305) 372-1861
 5   Email: aneill@knpa.com
     Attorneys for Plaintiffs
 6

 7   (Additional Counsel for Plaintiffs
     Listed on Signature Page)
 8

 9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA

11

12   STALEY, et al.,
13                             Plaintiffs,               Case No.: 3:19-cv-2573-EMC
14      v.                                               RETAILER PLAINTIFFS’ OPPOSITION
                                                         TO TEVA PHARMACEUTICALS, USA,
15   GILEAD SCIENCES, INC., et al.,                      INC.’S MOTION TO DISMISS
16                        Defendants.                     Hearing: January 6, 2022
     __________________________________                   Time: 1:30 p.m.
17
     This Document Relates to:                            Courtroom: 5—17th Floor
18                                                        Judge: Hon. Edward M. Chen
      3:21-cv-7378-EMC
19    3:21-cv-7374-EMC
     (Retailer Actions)
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                          RETAILER PLAINTIFFS’ OPPOSITION TO TEVA’S MOTION TO DISMISS
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 1                                            INTRODUCTION
 2                  The motion to dismiss filed by Teva Pharmaceuticals USA, Inc. (“Teva”) raises a
 3
     straightforward legal issue: does the class action tolling doctrine extend the applicable limitations
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     period when a later-filed non-class action names a defendant that was identified as a co-
 5
     conspirator but not a defendant in the earlier-filed class action? The answer is yes. See American
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 7   Pipe & Constr. Co. v. Utah, 414 U.S. 538, 562 (1974) (class action tolling applies when the non-

 8   class action “will concern the same evidence, memories, and witnesses as the subject matter of

 9   the original class suit, and the defendant will not be prejudiced by later intervention”) (Blackmun,
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     J., concurring); In re Rail Freight Fuel Surcharge Antitrust Litig., 2021 WL 1909777, at *2
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     (D.D.C. May 12, 2021) (“The American Pipe rule ‘suspends the applicable statute of limitations,’
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     414 U.S. at 554, as to all putative class members’ individual claims concerning ‘the same
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     evidence, memories, and witnesses as the subject matter of the original class suit’”) (quoting
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15   United Airlines, Inc. v. McDonald, 432 U.S. 385, 393 n.14 (1977)); In re TFT-LCD (Flat Panel)

16   Antitrust Litig., 2012 WL 3155693, at *3 (N.D. Cal. Aug. 2, 2012) (statute of limitations was
17   tolled as to defendants who “were named as defendants or coconspirators in the class actions”)
18
     (emphasis added). While Teva contends that it was not named as a co-conspirator in the FWK
19
     Holdings case, that contention is refuted by the FWK Holdings complaint, which explicitly
20
     alleges that “Gilead and Non-Party Teva Schemed to Delay Entry of Teva’s Generic Competitor.”
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22   Case No. 3:20-cv-6793-EMC (N.D. Cal.), ECF No. 1 at 75, Heading VI.Q (“FWK Complaint”).

23                                             BACKGROUND

24                  The Walgreen and CVS actions were filed in September 2021, approximately one
25   year after the FWK Holdings case was filed.1 As Teva notes, it was not named as a defendant in
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            Thus, as Teva acknowledges, this motion concerns only the length of the damage period
     applicable to Retailer Plaintiffs’ claims against Teva. If Retailer Plaintiffs are entitled to class
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 1   the FWK Holdings case or any of the prior End Payor class cases. However, Teva was
 2   subpoenaed and produced documents as a third party in the End Payor and Direct Purchaser class
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     cases. See Joint Case Management Statement, ECF No. 685 at 3, 6. Moreover, the FWK
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     Holdings complaint contains the very same allegations of unlawful reverse-payment agreements
 5
     between Gilead and Teva as in the Walgreen and CVS complaints. FWK Complaint ¶¶ 284-316.
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 7   Those allegations appear in the FWK Holdings complaint under a heading stating that “Gilead

 8   and Non-Party Teva Schemed to Delay Entry of Teva’s Generic Competitor.”

 9                                              ARGUMENT
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                    Teva acknowledges that, under American Pipe, “the filing of a class action tolls
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     the applicable statute of limitations for members of the putative class.” Teva Mot. to Dismiss at
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     4. By virtue of their assignments, Retailer Plaintiffs are members of the Direct Purchaser Class
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     identified in the FWK Holdings complaint. Teva nevertheless contends that class action tolling
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15   does not apply because FWK Holdings did not name Teva as a defendant. While there are cases

16   on both sides of this issue, the more persuasive cases apply American Pipe tolling to claims
17   against entities named as co-conspirators in the prior class case. See In re TFT-LCD, 2012 WL
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     3155693, at *3. Indeed, one of the cases cited by Teva acknowledges as much. See Tech Data
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     Corp. v. AU Optronics Corp., 2012 WL 3236065, at *5 (N.D. Cal. Aug. 6, 2012) (plaintiffs’
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     claims “‘were only tolled to the extent NEC entities were named as defendants or coconspirators
21

22   in the class actions’”) (emphasis added). The remaining cases cited by Teva are out-of-circuit,

23   distinguishable, or both.2

24

25   action tolling, the damage period will begin on September 29, 2016 (four years before the FWK
     Holdings case was filed). Absent class action tolling, the damage period begins on September 22,
26   2017 (four years before the Walgreen and CVS cases were filed). Teva Mot. to Dismiss at 3.
27   2
             See Wyser-Pratte Mgt. Co., Inc. v. Telxon Corp., 413 F.3d 553, 567-68 (6th Cir. 2005)
     (declining to apply Ohio class action tolling doctrine to non-conspirator not named in prior
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 1                   As noted above, Teva was named as Gilead’s co-conspirator in the FWK Holdings
 2   complaint. It is also named as Gilead’s co-conspirator in the currently operative DPP class action
 3
     complaint, ECF No. 559, which is for present purposes identical to the FWK Holdings complaint.
 4
     Indeed, inasmuch as a claim under FTC v. Actavis, Inc., 570 U.S. 136 (2013), is a Sherman Act
 5
     section 1 conspiracy claim, see id. at 140, and such claims require at least two conspirators, see
 6

 7   American Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 195 (2010), a conclusion that

 8   DPPs did not identify Teva as a co-conspirator would be equivalent to ruling that the DPPs have

 9   not stated any Actavis reverse-payment claims.
10
                     The rule proposed by Retailer Plaintiffs and adopted in TFT-LCD comports with
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     the rationale of American Pipe. As Teva acknowledges, American Pipe is based on the premise
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     that the filing of a class action provides notice of the claims to the parties identified in the class
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     case. See American Pipe, 414 U.S. at 554-55; id. at 562 (Blackmun, J., concurring). While not
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15   named as a defendant in the class cases, Teva learned of this litigation when it was subpoenaed

16   for documents as a third party, and was therefore on notice that it had been identified as a co-
17   conspirator. Moreover, because a conspiracy case is the same case whether it is asserted against
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     one conspirator or against all of the conspirators, Teva had actual notice that it could be sued by
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     absent class members on claims arising out of “the same evidence, memories, and witnesses as
20
     the subject matter of the original class suit.” Id. at 562 (Blackmun, J., concurring). Teva
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22   therefore will not be prejudiced by tolling the applicable limitations period. See id.

23

24   shareholder class action); Wade v. Danek Medical, Inc., 182 F.3d 281, 288 n.9 (4th Cir. 1999)
     (declining to apply state-law equitable tolling doctrine to unnamed defendants); Arneil v. Ramsey,
25   550 F.2d 774, 782 n.10 (2d Cir. 1977) (declining to apply American Pipe to non-conspiring
26   individual defendants not named in prior securities class action); In re Cathode Ray Tube (CRT)
     Antitrust Litig., 2014 WL 1091095, at *4 (N.D. Cal. March 13, 2014) (declining to apply
27   American Pipe to conspirator’s subsidiary not named in prior class case); Biotechnology Value
     Fund, L.P. v. Celera Corp., 12 F. Supp. 3d 1194, 1205 (N.D. Cal. 2013) (declining to apply class
28   action tolling to non-conspirator in securities case but citing TFT-LCD with approval).

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 1                                          CONCLUSION
 2                For the reasons stated above, Teva’s motion should be denied.
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 4   Dated: December 6, 2021            /s/ Anna T. Neill
                                        Anna T. Neill (State Bar No. 270858)
 5                                      Scott E. Perwin (pro hac vice)
                                        Lauren C. Ravkind (pro hac vice)
 6                                      KENNY NACHWALTER P.A.
 7                                      Four Seasons Tower, Suite 1100
                                        1441 Brickell Avenue
 8                                      Miami, FL 33131
                                        Telephone: (305) 373-1000
 9                                      Facsimile: (305) 372-1861
                                        Email: aneill@knpa.com
10
                                        Email: sperwin@knpa.com
11                                      Email: lravkind@knpa.com
                                        Attorneys for Walgreen Plaintiffs
12
                                        Barry L. Refsin (pro hac vice)
13
                                        Alexander J. Egerváry (pro hac vice forthcoming)
14                                      Chelsea M. Nichols (pro hac vice forthcoming)
                                        Caitlin V. McHugh (pro hac vice)
15                                      HANGLEY ARONCHICK SEGAL PUDLIN &SCHILLER
                                        One Logan Square, 27th Floor
16                                      Philadelphia, PA 19103
17                                      Telephone: (215) 568-6200
                                        Email: brefsin@hangley.com
18                                      Email: aegervary@hangley.com
                                        Email: cnichols@hangley.com
19                                      Email: cmchugh@hangley.com
20                                      Monica L. Kiley (pro hac vice)
21                                      Eric L. Bloom (pro hac vice)
                                        HANGLEY ARONCHICK SEGAL PUDLIN &SCHILLER
22                                      2805 Old Post Road, Suite 100
                                        Harrisburg, PA 17110
23                                      Telephone: (717) 364-1030
                                        Email: mkiley@hangley.com
24
                                        Email: ebloom@hangley.com
25                                      Attorneys for CVS Pharmacy, Inc., Rite Aid Corp., and Rite
                                        Aid Hdqtrs. Corp.
26

27

28

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 1                                        William F. Murphy (State Bar No. 82482)
                                          DILLINGHAM & MURPHY
 2                                        601 Montgomery Street, Suite 1900
 3                                        San Francisco, CA 94111
                                          Telephone: (415) 397-2700
 4                                        Facsimile: (415) 397-3300
                                          wfm@dillinghammurphy.com
 5                                        Counsel for Retailer Plaintiffs
 6
                                     CERTIFICATE OF SERVICE
 7
                   I hereby certify that I electronically filed the foregoing with the Clerk of the Court
 8

 9   by using the CM/ECF system on December 6, 2021. I further certify that all participants in the

10   case are registered CM/ECF users that service will be accomplished by the CM/ECF system.

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12
                                                           /s/ Anna T. Neill
13                                                         Anna T. Neill

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